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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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MOHAMED QASEEM KAKAR,
                                                                       NOTICE OF CROSS-MOTION
                                            Plaintiff,
                     v.

UNITED STATES CITIZENSHIP AND                                          Civil Action No.
INFORMATION SERVICES,                                                  CV-16-5032 (KAM)

                                             Defendant.
------------------------------------------------------------------x

        PLEASE TAKE NOTICE THAT, upon the accompanying memorandum of law; the

certified administrative record; and all pleadings and proceedings herein, defendant United States

Citizenship and Information Services will cross-move before the Honorable Kiyo A. Mastumoto,

United States District Judge, Eastern District of New York, 225 Cadman Plaza East, Brooklyn,

New York, on submission, unless the Court designates a date and a time, for summary judgment

dismissing the Complaint in its entirety, with prejudice, pursuant to Fed. R. Civ. P. 56; and for

such other and further relief as this Court may deem just and proper; and

        PLEASE TAKE FURTHER NOTICE that, pursuant to the current Scheduling Order,

plaintiff=s answering papers and reply, if any, as to his own motion, must be served on or before

October 13, 2017; and defendant’s reply papers, if any, as to its cross-motion must be served on

or before November 1, 2017.

Dated: Brooklyn, New York                            BRIDGET M. RODHE
       September 13, 2017                            Acting United States Attorney
                                                     Counsel for Defendant
                                                     Eastern District of New York
                                                     271 Cadman Plaza East, 7th Fl.
                                                     Brooklyn, New York 11201

                                            By:       /s/ Layaliza Soloveichik
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